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5
                               UNITED STATES DISTRICT COURT
6
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
7
     ERNEST DYKES,                   )         Case No. 11-CV-04454-SI
8                                    )
               Petitioner,           )         PETITIONER’S REPLY TO OPPOSITION
9                                    )         TO MOTION FOR EQUITABLE TOLLING
                    v.               )
10                                   )
     MICHAEL MARTEL, Acting Warden, )
11                                   )         Hearing Date: None Requested
               Respondent.           )
12   ________________________________)         DEATH PENALTY CASE
13
14                         REPLY TO OPPOSITION TO MOTION
                               FOR EQUITABLE TOLLING
15
16        PETITIONER     ERNEST      DYKES    hereby    respectfully         replies   to
17   Respondent’s Opposition to Petitioner’s Motion for Equitable Tolling.
18        Petitioner stands in all respects on his opening motion, and
19   offers this reply solely to address certain aspects of Respondent’s
20   Opposition thereto.       Any failure to renew points raised in the motion
21   is not intended as a withdrawal of same, but rather simply deference
22   to and continued reliance upon the initial presentation in the
23   interests of brevity.
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26                                       Respectfully submitted,
27   Dated: August 17, 2012              s/Phillip A. Treviño
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1              PETITIONER’S REPLY TO RESPONDENT’S OPPOSITION TO
                   PETITIONER’S MOTION FOR EQUITABLE TOLLING
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3         A few points now appear clear.
4         First, it seems the parties tend to agree as to the relevant
5    and governing case law, they simply seem to differ in their
6    understanding of the import of the relevant decisions.                      Notably,
7    this includes Respondent’s disapproval of this Court’s own decision
8    in Jablonski v. Martel, No. 3-7-CV-3302 SI, 2011 U.S. Dist. LEXIS
9    101714 (N.D. Cal. Sept. 9, 2011).
10        Second, although Respondent does not like the result in
11   Jablonski or the various other decisions emanating from the courts
12   of this District regarding similar requests for equitable tolling,
13   Respondent provides this Court no authority that invalidates those
14   prior decisions.
15        Third, Respondent does not quarrel with the premise that
16   Petitioner was diligent in seeking to have counsel appointed to
17   assist him in this matter.        Indeed, no such argument could credibly
18   be presented, given the promptness with which Petitioner addressed
19   this Court, and with which he renewed his request for counsel after
20   months during which he had no answer.
21        Perhaps of greatest moment Respondent makes no allegation or
22   argument that he will somehow be prejudiced by the relief
23   Petitioner seeks.         Yet the prejudice to Petitioner could be severe
24   if counsel is not afforded adequate time to fully review and
25   prepare this federal capital petition.                And counsel did not
26   present the motion for relief at the outset of this matter
27   precisely so that it would not be a pro forma or “routine” request.
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1    Counsel has been of record now since December, and is informed and
2    responsibly able to sign these pleadings requesting this relief as
3    appropriate and necessary for the proper representation of
4    Petitioner.
5         Respondent’s contention that any request for this relief is
6    premature until Petitioner shows an inability to complete the
7    petition in less than the statutorily allocated one year period is
8    particularly troublesome.      Taken to its logical conclusion, this
9    suggests Respondent believes that anytime willing counsel cannot
10   promptly be located for an appointment, rather than equitably toll
11   the clock so as not to prejudice the condemned inmate, this and
12   other district courts should be put in the impracticable and
13   undesirable position of having to assess each and every capital
14   habeas proceeding to determine precisely how much time counsel will
15   be allowed to review the record, investigate, and research and
16   prepare the petition.      In other words, Respondent implicitly seems
17   to suggest a scenario where the easily calculable one year that
18   Congress enacted is replaced by a detailed judicial evaluation of
19   each case for a decision as to precisely how much time counsel will
20   be afford to perform his or her work.
21        There are many reasons this is an undesirable approach.                 The
22   potential for a huge consumption of court time, waste of CJA
23   resources, the potential for time-consuming appellate challenges
24   and other ancillary unnecessary litigation, all readily illustrate
25   precisely how ill-advised such a path would be.                  There is another
26   equally significant problem: as the fact patterns detailed in the
27   equitable tolling decisions from this Court show, there can already
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1    be substantial delays in locating counsel willing to accept an
2    appointment.    If prospective counsel are faced with accepting a
3    appointment in a capital matter in which it is not even clear
4    counsel will be afforded a year to prepare the petition, the number
5    of counsel willing to accept such appointments is likely to drop
6    dramatically.    It is no secret these matters are among the most
7    serious and demanding, and qualified counsel should be encouraged
8    to step forward, not presented with strong reasons to avoid doing
9    so.   Respondent does not address, or even seem to contemplate, how
10   such a result would likely ultimately work a far greater delay in
11   the resolution of a multitude of these matters than the modest
12   equitable tolling Petitioner seeks.
13         Congress set a clear and easy line when it allowed a calendar
14   year for the preparation of a federal capital habeas petition; the
15   Supreme Court has acknowledged the important role counsel has to
16   play during that time period; and this Court and its companion
17   courts in this District and Circuit have recognized this and held
18   equitable tolling is appropriate in such circumstances.
19         It is respectfully urged this Court grant the requested
20   relief.
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22                                      Respectfully submitted,
23   Dated: August 17, 2012             s/Phillip A. Treviño
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